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 5   Attorneys for Defendant Robert Holloway

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 7
                                  UNITED STATES DISTRICT COURT
 8
 9                               EASTERN DISTRICT OF CALIFORNIA

10                                                      -o0o-
11   In the Matter of the Search of               ) Case No.: 1:08-cr-00224-OWW
     Robert Cliff Holloway III and                )
12                                                )
     Kathryn Gottschalk Holloway as well as their )
13   business and residential addresses listed )
     below                                        ) STIPULATION AND ORDER TO
14   5604 Moberg Road, Turlock, California        ) CONTINUE HEARING ON MOTION FOR
     5606 Moberg Road, Turlock, California        ) RETURN OF PROPERTY
15                                                )
     4600 Main Street, Denair, California         )
16   2720 Second Street, Ceres, California        )
                                                  ) Hearing Date: September 19, 2011
17                                                ) Hearing Time: 9:00 a.m.
                                                  ) JUDGE: Honorable Oliver W. Wanger
18                                                )
     Real party in interest                       )
19   Robert Cliff Holloway III and                )
     Road Dog Cycles                              )
20                                                )
21
22          IT IS HEREBY STIPULATED by and between the parties hereto through their
23   respective counsel, ROGER K. VEHRS, attorney for Defendant, and MARK E. CULLERS,
24   Chief Assistant U.S. Attorney for Plaintiff, that the hearing on the Motion for Return of
25   Property currently scheduled for September 19, 2011, at 1:30 p.m. shall be continued until
26   November 7, 2011 at 9:00 before Judge Oliver W. Wanger.
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28
                      Stipulation And Order To Continue Hearing on Motion For Return of Property

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 1                             This continuance is necessary due to the large volume of materials that are
 2   essential for review in this case. Additionally, the agent currently involved in this matter will
 3   be out of the office on official business until late October. Therefore, the earliest time that
 4   counsel will be able to inspect all the materials will not be until the end of October.
 5
 6
 7
 8   Dated: September 15, 2011                                                          /S/ Roger K. Vehrs
                                                                                        ROGER K. VEHRS, attorney for
 9                                                                                      Robert Cliff Holloway III.
10
11
12
13   Dated: September 15, 2011                                                          /S/ Mark E. Cullers
14                                                                                      MARK E. CULLERS
                                                                                        Chief Assistant U.S. Attorney
15
16
17                                                                     ORDER

18                             IT IS HEREBY ORDERED THAT the date set for the hearing on the Motion for

19   Return of Property shall be continued to the Court’s first available date in November.
20
21
22   IT IS SO ORDERED.
23
                            Dated:   September 16, 2011                              /s/ Oliver W. Wanger
24                                                                          UNITED STATES DISTRICT JUDGE
     DEAC_Signature-END:




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                                        Stipulation And Order To Continue Hearing on Motion For Return of Property

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